Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 1 of 10



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

                                     CASE NO.: 18-60171-CIV-Scola

  THE BANCORP BANK, A Delaware
  Chartered banking corporation,

          Plaintiff,
  v.

  550 SEABREEZE DEVELOPMENT, LLC,
  a Florida limited liability company, and
  JAWOF 515 SEABREEZE, LLC, a Florida
  Limited liability company,

        Defendants.
  ________________________________________/

       MASTER PLASTER INC.’S MOTION TO INTERVENE AS PLAINTIFF AGAINST
         DEFENDANT 550 SEABREEZE DEVELOPMENT, LLC AND SUPPORTING
                            MEMORANDUM OF LAW

          MASTER PLASTER INC (“MPI”), by and through undersigned counsel and pursuant to

  Federal Rule of Civil Procedure 24, moves to intervene as a Plaintiff in this case.

                                       MOTION TO INTERVENE

          1.      On or about January 25, 2018 Plaintiff filed its Complaint (“Complaint”) seeking

  recovery against Defendants.1 In Count I of the Amended Complaint, Plaintiff seeks to foreclose

  a construction loan against certain real property owned by Defendant 550 SEABREEZE

  DEVELOPMENT, LLC (“550 Seabreeze”) on which the construction project commonly known

  as the Indigo Hotel/Las Olas Ocean Resort sits (“Project”)2. The address of the property is 550

  Seabreeze Boulevard, Fort Lauderdale Florida, 33313 (“Property”).


  1
        Plaintiff subsequently amended its Complaint and on February 13, 2018, when Plaintiff filed its Amended
  Verified Complaint.

  2
        The Amended Complaint also seeks to foreclose on property across the street owned by Defendant JAWOF
  515, but that property is not a subject of this Motion.


                         WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 2 of 10

                                                                                                Page 2 of 10
                                                                               MPI’s Motion for Intervention
                                                                            Case No. 9:16-cv-80195-MARRA


         2.      In this action, the foreclosure sought by Plaintiff on the Property is purportedly

  justified under a mortgage and security agreement executed by Plaintiff and Defendant 550

  Seabreeze.

         3.      On January 26, 2018, Plaintiff filed with this Court and recorded with Broward

  County, a lis pendens related to the foreclosure action filed in this Court (Doc.7).

         4.      Intervenor MPI is a subcontractor on the Las Olas Ocean Resort Project, having

  provided eifs, framing and stucco labor and materials to the Project.

         5.      At that time Plaintiff recorded its lis pendens (January 26, 2018), Intervenor MPI

  was owed approximately Six Hundred Twenty-Three Thousand, Eighty-Seven Dollars and

  Thirty-Nine Cents ($623,087.39) for labor and materials provided to the Project. However,

  Intervenor MPI had not recorded a construction claim of lien as of January 26, 2018.

         6.      Intervenor MPI remains unpaid approximately Six Hundred Twenty-Three

  Thousand, Eighty-Seven Dollars and Thirty-Nine Cents ($623,087.39) for labor and materials

  provided to the Project as of the date of this motion.

         7.      Florida Statute Section 48.23 (1)(d) (Florida’s lis pendens statute) provides in

  relevant part as follows:

                 (d) Except for the interest of persons in possession or easements of use,
                 the recording of such notice of lis pendens, provided that during the
                 pendency of the proceeding it has not expired pursuant to subsection (2) or
                 been withdrawn or discharged, constitutes a bar to the enforcement
                 against the property described in the notice of all interests and liens,
                 including, but not limited to, federal tax liens and levies, unrecorded at
                 the time of recording the notice unless the holder of any such
                 unrecorded interest or lien intervenes in such proceedings within 30
                 days after the recording of the notice. If the holder of any such
                 unrecorded interest or lien does not intervene in the proceedings and
                 if such proceedings are prosecuted to a judicial sale of the property
                 described in the notice, the property shall be forever discharged from
                 all such unrecorded interests and liens. If the notice of lis pendens



                       WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 3 of 10

                                                                                                              Page 3 of 10
                                                                                             MPI’s Motion for Intervention
                                                                                          Case No. 9:16-cv-80195-MARRA


                    expires or is withdrawn or discharged, the expiration, withdrawal, or
                    discharge of the notice does not affect the validity of any unrecorded
                    interest or lien.

                    (emphasis added)

            8.      Based upon the above statute, Intervenor MPI is compelled to intervene into this

  action and failing to do so could result in a loss of its Florida Statute Chapter 713 Construction

  Lien rights.

            9.      On February 23, 2018 MPI recorded a construction lien on the Property (“Claim

  of Lien”) and now seeks to foreclose upon its Florida Statute Chapter 713 Construction Claim of

  Lien against the same real property that is the subject of this pending lawsuit.

            10.     The present Motion seeks intervention as matter of right3 under Rule 24(a) of the

  Federal Rules of Civil Procedure based upon the application of Florida Statute Section 48.23

  (1)(d).

            11.     Further, Intervenor MPI seeks intervention as matter of right under Rule 24(a) of

  the Federal Rules of Civil Procedure given the realities that Intervenor MPI’s application to

  intervene is timely, Intervenor MPI has an interest relating to the property that is the subject of

  this action, Intervenor MPI is so situated that disposition of the action as a practical matter may

  impede or impair is ability to protect its interest, and because MPI’s interest may not be

  adequately protected by the existing parties to this lawsuit. See Lloyd v. Alabama Dep’t of

  Corrections, 176 F.3d 1336, 1339 (11th Cir. 1999).



  3
        Although Plaintiff is diverse with both Defendants, Intervenor MPI is not. However, diversity existed at the
  time of Plaintiff’s filing of this action, and pursuant to federal law “diversity jurisdiction, once established, is not
  defeated by the addition of a nondiverse party to the action…” Freeport-McMoRan v. K N Energy, 498 U.S. 426,
  428 (1991) (holding diversity which existing at filing of the action was not defeated by subsequent addition of
  plaintiff, and reversing trial court’s decision to the contrary).




                           WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 4 of 10

                                                                                                   Page 4 of 10
                                                                                  MPI’s Motion for Intervention
                                                                               Case No. 9:16-cv-80195-MARRA


           12.     Alternatively, Intervenor MPI seeks permissive intervention under Rule 24(b)

  because its application to intervene is timely; and its claim has a question of law or fact in

  common with Plaintiff’s claim. See Chiles v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989).

           13.     As required by Rule 24(c) of the Federal Rules of Civil Procedure, this Motion is

  accompanied by a pleading, attached as Exhibit “A,” which sets forth Intervenor MPI’s

  foreclosure action on its Florida Statute Chapter 713 Construction Claim of Lien, for which

  intervention is sought. Intervenor MPI seeks to file the attached Complaint to preserve its

  Florida Statute Chapter 713 Construction Lien rights.


                                      MEMORANDUM OF LAW

           Federal Rule of Civil Procedure 24 provides both for intervention as of right and for

  intervention by permission of the court. Lloyd v. Alabama Dep’t of Corrections, 176 F.3d 1336,

  1339 (11th Cir. 1999). Intervenor MPI is entitled to intervene in this action as a matter of right.

  Alternatively, this Court should allow permissive intervention.


      I.         INTERVENOR IS ENTITLED TO INTERVENTION AS A MATTER OF
                 RIGHT.

           To intervene as a matter of right, the moving party must demonstrate that: 1) its

  application to intervene is timely, 2) it has an interest relating to the property or transaction that

  is the subject of the action, 3) it is so situated that disposition of the action, as a practical matter,

  may impede or impair its ability to protect that interest, and 4) its interest may not be adequately

  represented by the existing parties to the suit. Id. at 1339-40 (citing Chiles v. Thornburgh, 865

  F.2d 1197, 1213 (11th Cir. 1989). If the moving party satisfies these requirements, the district

  court must allow intervention. Chiles, 865 F.2d at 1213. Here, Intervenor satisfies each

  requirement.


                        WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 5 of 10

                                                                                              Page 5 of 10
                                                                             MPI’s Motion for Intervention
                                                                          Case No. 9:16-cv-80195-MARRA


            A. The Request To Intervene Is Timely.

         Florida Statute Section 48.23 (1)(d) (Florida’s lis pendens statute) provides in relevant

  part as follows:

                 (d) Except for the interest of persons in possession or easements of use,
                 the recording of such notice of lis pendens, provided that during the
                 pendency of the proceeding it has not expired pursuant to subsection (2) or
                 been withdrawn or discharged, constitutes a bar to the enforcement
                 against the property described in the notice of all interests and liens,
                 including, but not limited to, federal tax liens and levies, unrecorded at
                 the time of recording the notice unless the holder of any such
                 unrecorded interest or lien intervenes in such proceedings within 30
                 days after the recording of the notice. If the holder of any such
                 unrecorded interest or lien does not intervene in the proceedings and
                 if such proceedings are prosecuted to a judicial sale of the property
                 described in the notice, the property shall be forever discharged from
                 all such unrecorded interests and liens. If the notice of lis pendens
                 expires or is withdrawn or discharged, the expiration, withdrawal, or
                 discharge of the notice does not affect the validity of any unrecorded
                 interest or lien.

                 (emphasis added)

         Plaintiff recorded is lis pendens on January 26, 2018. This Motion to Intervene is filed

  within 30 days of the date Plaintiff recorded its lis pendens, as required by the above cited

  statute. Thus, this motion is timely.

         Further, “Timeliness is to be determined from all the circumstances.” NAACP v. New

  York, 413 U.S. 345, 366 (1973). Those circumstances include “the length of time during which

  the would-be intervenor actually knew or reasonably should have known of his interest in the

  case before he petitioned for leave to intervene” and “prejudice to all existing parties as well as

  the potential intervenor.” Florida Key Deer v. Brown, 232 F.R.D. 415, 417 (S.D. Fla. 2005).

  Here, the case is just beginning. The Court’s docket shows that Plaintiff’s original complaint was

  filed less than a month ago on January 25, 2018 (Doc. 1). Plaintiff’s amended complaint was




                       WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 6 of 10

                                                                                                Page 6 of 10
                                                                               MPI’s Motion for Intervention
                                                                            Case No. 9:16-cv-80195-MARRA


  filed last week on February 13, 2018 (Doc. 34). The very short time between the filing of the

  original and/or amended complaints in this case and this Motion to Intervene cannot prejudice

  any party.

               B. Intervenor Has An Undeniable Interest In the Subject Matter Of The Action.

         A party is entitled to intervention of right “if the party’s interest in the subject matter of

  the litigation is direct, substantial and legally protectable.” Georgian v. U.S. Army Corps of

  Entineers, 302 F.3d 1242, 1257 (11th Cir. 2002). To assess the adequacy of an intervenor’s

  interest, a court must look to the subject matter of the litigation and whether the remedies sought

  by the plaintiff would have a “practical effect” upon the interest of the proposed intervenor.

         Here, Florida Statutes specifically mandate the Intervention. Indeed, Intervenor MPI

  provided labor, services, and materials for improvement of the Property that is the subject matter

  of this litigation. Intervenor MPI recorded a construction lien on the Property. Intervenor MPI

  therefor has an undoubted direct, substantial, and legally protectable interest. See, Diaz v. S.

  Drilling Corp., 427 F.2d 1118, 1124 (5th Cir. 1970)(“Interests in property are the most

  elementary type of right that Rule 24(a) is designed to protect.”); see also, 7C Charles Alan

  Wright, et. al., Federal Practice & Procedure §1908.1 (3d ed.)(“it has been recognized that

  ‘interests in property are the most elementary type of right that Rule 24(a) is designed to protect.’

  Thus, many of the cases in which a sufficient interest has been found under amended Rule

  24(a)(2) have been cases in which there is a readily identifiable interest in land, or some other

  form or property.”)

         It is indisputable that the remedies Plaintiffs seek in this action would have a “practical

  effect” on the interests of Intervenor MPI. Intervenor MPI’s construction lien on the property

  that is the subject of this litigation would be immediately impacted by a judicial order



                        WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 7 of 10

                                                                                                 Page 7 of 10
                                                                                MPI’s Motion for Intervention
                                                                             Case No. 9:16-cv-80195-MARRA


  foreclosing on the Property. See also, Chiles, 865 F.2d at 1214 (“Where a party seeking to

  intervene in an action claims an interest in the very property and very transaction that is the

  subject of the main action, the potential stare decisis effect may supply that practical

  disadvantage which warrants intervention as of right.”)

              C. Intervenor Is So Situated That Disposition Of The Action May
                 Impede Or Impair Its Ability To Protect Its Interest.
          The Eleventh Circuit has held that the nature of a prospective intervenor’s interest is

  closely related to the effect that the disposition of the lawsuit will have on the intervenor’s ability

  to protect that interest; the second issue cannot be considered without reference to the first.

  Chiles, 865 F.2d at 1214. As discussed above, it is beyond dispute that Intervenor MPI has a

  direct and legally protectable interest which may be adversely impacted by disposition of this

  case.

          If this case proceeds without participation by Intervenor MPI, its interest will be forever

  barred based upon Florida Statute.

            D. Intervenor’s Interests May Not Be Sufficiently Aligned With
               Defendant To Ensure Adequate Representation.
          Finally, because Intervenor MPI’s interests are not sufficiently aligned with either

  Plaintiff or Defendants, Intervenor MPI is left vulnerable and unprotected. Under Rule 24(a),

  only a “minimal” showing is required to establish this element of the intervention-by-right

  standard under Rule 23(a)(2): “Interveners need only show that the current [party’s]

  representation ‘may be inadequate’ … and the burden for making such a showing is ‘minimal.’”

  Stone v. First Union Corp., 371 F.2d 1305, 1311 (11th Cir. 2004); see also, Clark v. Putnam

  Cnty., 168 F.3d 458, 461 (11th Cir 1999)(“The requirement of the Rule is satisfied if the

  applicant shows that representation of his interest “may be” inadequate; and the burden of

  making that showing should be treated as minimal.’”


                       WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 8 of 10

                                                                                                  Page 8 of 10
                                                                                 MPI’s Motion for Intervention
                                                                              Case No. 9:16-cv-80195-MARRA


           Here, it is readily apparent that Intervenor MPI’s interests ‘may be’ inadequately

  represented by the existing parties to the case. While Defendants may generally defend against

  foreclosure of the property, given the monetary damages Defendants are exposed to (more than

  $37,000,000.00) Defendants may simply declare bankruptcy and allow the property to be

  disposed of via bankruptcy proceedings (inadequately protecting Intervenor’s interest), or allow

  the Proper to be foreclosed upon (inadequately protecting Intervenor’s interest). Defendant’s

  likely indifference to keeping the property and paying its debts exists in stark contrast to

  Intervenor’s interest in not having the properties foreclosed on so that Intervenor’s construction

  lien remains attached to the property, highlighting the inadequacy of Defendants’ representation.

     II.      ALTERNATIVELY, THIS COURT SHOULD GRANT INTERVENTION
              BY PERMISSION.

           Though Intervenor MPI believes its right to intervention is as a matter of right based

  upon the provision of Florida Statutes cited above, should this Court conclude that Intervenor

  MPI is not entitled to intervene as of right, the Court should nevertheless grant intervention by

  permission. A party seeking permissive intervention under Rule 24(b) must show two things:

  “1) that is application to intervene is timely; and 2) his claim or defense and the main action have

  a question of law or fact in common.” Chiles v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir.

  1989). Intervenor easily meets these criteria. As discussed above Intervenor’s motion to

  intervene was filed expediently (within 30 days) after this case was filed. Its prosecution has a

  question of fact and law in common with the main action – Plaintiff and Intervenor both seek to

  establish their respective interests in the Property. Should the Court be inclined to deny

  intervention as matter of right, it should grant permissive intervention.




                       WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 9 of 10

                                                                                              Page 9 of 10
                                                                             MPI’s Motion for Intervention
                                                                          Case No. 9:16-cv-80195-MARRA


         WHEREFORE, MASTER PLASTER INC. respectfully requests entry of an Order

  granting it status as an intervening Plaintiff, in addition to such further relief the Court deems

  just and proper.


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 23rd day of February, 2018, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system, which will send notice of

  electronic filing to CM/ECF registrants as listed on the Service List below.


                                               Respectfully submitted,

                                               WEISS SEROTA HELFMAN
                                               COLE & BIERMAN, P.L.
                                               Attorneys for Intervenor, Master Plaster, Inc..
                                               200 East Broward Blvd., Suite 1900
                                               Fort Lauderdale, FL 33301
                                               Telephone: (954) 763-4242
                                               Telecopier: (954) 764-7770

                                               By:     /s/ Michael J Kurzman
                                                     MICHAEL J. KURZMAN
                                                     Florida Bar No. 814342
                                                     Primary: mkurzman@wsh-law.com
                                                     Secondary: dmurphy@wsh-law.com
                                                     DAVID B WILLIAMS, JR.
                                                     Florida Bar No. 92149
                                                     Primary: dwilliams@wsh-law.com
                                                     Secondary: imunoz@wsh-law.com




                       WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 0:18-cv-60171-RNS Document 46 Entered on FLSD Docket 02/23/2018 Page 10 of 10

                                                                                            Page 10 of 10
                                                                            MPI’s Motion for Intervention
                                                                         Case No. 9:16-cv-80195-MARRA


                                             Service List


   Jennifer Olmedo-Rodriguez, Esq.                  Peter E. Shapiro, Esq.
   Buchanan Ingersoll                               Shapiro Law
   100 SE 2nd Street, 35th Floor                    1351 Sawgrass Corporate Parkway
   Miami, FL 33131-2320                             Fort Lauderdale, FL 33323
   Telephone: 305-347-4080                          Telephone: 954-317-0133
   Fax: 305-347-4089                                Fax: 954-742-9971
   Attorneys for 550 Seabreeze Development, LLC     Attorneys for 550 Seabreeze Development, LLC
   Jennifer.olmedo-rodriguez@bipc.com               pshapiro@shapirolawpa.com

   Niall Torrence McLachlan, Esq.                   Thomas Meeks, Esq.
   Carlton Fields                                   Carlton Fields
   100 SE 2nd Street, Suite 4000                    100 SE 2nd Street
   P.O. Box 019101                                  Suite 4200 – Miami Tower
   Miami, FL 33131-9101                             Miami, FL 33131-9101
   Telephone: 305-530-4063                          Telephone: 305-530-4063
   Fax: 305-530-0055                                Fax: 305-530-0055
   Attorneys for JAWOF 515 Seabreeze, LLC           Attorneys for JAWOF 515 Seabreeze, LLC
   nmclachlan@carltonfields.com                     tmeeks@carltonfields.com

   Mark Joseph Wolfson, Esq.                        Ralf R. Rodriguez, Esq.
   Foley & Lardner                                  Foley & Lardner, LLP
   100 N. Tampa Street, Suite 2700                  One Biscayne Tower
   P.O. Box 3391                                    Two South Biscayne Blvd., Suite 1900
   Tampa, FL 33601-3391                             Miami, FL 33131
   Telephone: 813-229-2300                          Telephone: 305-482-8400
   Fax: 813-221-4210                                Fax: 305-482-8600
   Attorney for The Bancorp Bank                    Attorneys for the Bancorp Bank
   mwolfson@foley.com                               rrrodriguez@foley.com




                        WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
